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                                          U.S. Department of Justice

                                                     United States Attorney
                                                     Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007



                                                     January 14, 2023

BY ECF

The Honorable Lewis J. Liman
United States District Court
Southern District of New York
500 Pearl Street
New York, NY 10004

       Re:     United States v. Lawrence Ray, 20 Cr. 110 (LJL)

Dear Judge Liman:

        Attached please find a revised proposed Order of Restitution, which corrects the amount
of restitution sought. The Government is requesting: 1) entry of the revised proposed Order of
Restitution, with $5,594,862.83 to be paid to the victims identified in its Schedule of Victims, 1
and 2) the inclusion of $761,276.26 of restitution to the Internal Revenue Service (“IRS”) as a
condition of any term of supervised release. The total amount of restitution sought is
$6,356,139.09.


                                               Respectfully submitted,

                                               DAMIAN WILLIAMS
                                               United States Attorney


                                         By: /s/
                                             Mollie Bracewell
                                             Lindsey Keenan
                                             Danielle R. Sassoon
                                             Assistant United States Attorneys
                                             (212) 637-2218/1115


cc:    defense counsel (by ECF and E-mail)


1
  Consistent with 18 U.S.C. §§3771(a)(8) & 3664(d)(4) and Federal Rule of Criminal Procedure
49.1, to protect the privacy interests of the victims, the Government is requesting that Schedule A
to the corrected Proposed Order of Restitution be filed under seal.
